   Case: 3:21-cr-00043-MJN Doc #: 22 Filed: 11/10/21 Page: 1 of 3 PAGEID #: 106




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                        :      Case No. 3:21-cr-043

               Plaintiff,                        :      Judge Michael J. Newman

       v.                                        :

MAC DORSEY,                                      :

               Defendant.                        :


                            PRELIMINARY ORDER OF FORFEITURE

       Upon the United States’ Motion for Preliminary Order of Forfeiture and the Court’s review

of the evidence in the record, including the Plea Agreement, the Court HEREBY FINDS THAT:

       On April 13, 2021, a grand jury in the Southern District of Ohio returned a one-count

Indictment charging defendant Mac Dorsey (hereinafter the “Defendant”) with being a felon in

possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

       A forfeiture allegation in the Indictment provided notice to the Defendant that the United

States would seek the forfeiture of any firearms and ammunition involved in or used in the

violation, including but not limited to, a 9mm Springfield XDS pistol, SN: AT210597, with

magazine and 12 rounds of 9mm ammunition (hereinafter the “subject property”).

       On August 31, 2021, the Defendant entered into a Plea Agreement with the United States

in which the Defendant agreed to plead guilty to Count 1 of the Indictment and agreed to the

immediate forfeiture of the subject property, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.

§ 2461(c), as property involved in the offense. The Defendant entered a plea of guilty to Count 1

of the Indictment on August 31, 2021.
   Case: 3:21-cr-00043-MJN Doc #: 22 Filed: 11/10/21 Page: 2 of 3 PAGEID #: 107




       The subject property is forfeitable, pursuant to 18 U.S.C. § 924(d)(1) and

28 U.S.C. § 2461(c), as property involved in the offense set forth in Count 1 of the Indictment.

The Defendant had an interest in the subject property.

       The United States has established the requisite nexus between the subject property and the

Defendant’s offense.

       THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      All right, title, and interest in the subject property is condemned and forfeited to the

United States pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c).

       2.      The United States is authorized to seize the subject property, pursuant to 21 U.S.C.

§ 853(g) and Fed. R. Crim. P. 32.2(b)(3), whether held by the Defendant or a third party; conduct

any discovery for identifying, locating, or disposing of the property; and to commence proceedings

that comply with any statutes governing third party rights.

       3.      In accordance with the direction provided by the Attorney General and Fed. R.

Crim. P. 32.2(b)(6), the United States shall publish notice of this Order and send notice to any

person who reasonably appears to be a potential claimant with standing to contest the forfeiture in

the ancillary proceeding.    Publication must take place as described in Supplemental Rule

G(4)(a)(iii) of the Federal Rules of Civil Procedure and may be by any means described in

Supplemental Rule G(4)(a)(iv). Publication is unnecessary if any exception in Supplemental Rule

G(4)(a)(i) applies.

       4.      The notice must describe the forfeited property, state the times under the applicable

statute when a petition contesting the forfeiture must be filed, and state the name and contact

information for the Assistant United States Attorney to be served with the petition. The notice

may be sent in accordance with Supplemental Rules G(4)(b)(iii)-(v).

                                                  2
    Case: 3:21-cr-00043-MJN Doc #: 22 Filed: 11/10/21 Page: 3 of 3 PAGEID #: 108




       5.      Pursuant to 21 U.S.C. § 853(n)(2), any person, other than the Defendant, asserting

a legal interest in the subject property, who wishes to contest the forfeiture of the subject property

must, within thirty (30) days of the final publication of notice or of receipt of actual notice,

whichever is earlier, file a petition in the United States District Court for the Southern District of

Ohio for a hearing to adjudicate the validity of the alleged legal interest in the subject property.

       6.      Any petition filed by a third party shall be signed by the petitioner under penalty of

perjury and shall set forth the nature and extent of the petitioner’s right, title, or interest in the

property; the time and circumstances of the petitioner’s acquisition of the right, title, or interest in

the property; any additional facts supporting the petitioner’s claim; and the relief sought.

       7.      The United States shall have clear title to the subject property following the Court’s

disposition of all third party interests, or if no third party petitions are timely filed, following the

expiration of the period provided by statute for the filing of third party petitions.

       8.      In accordance with the Plea Agreement, this Preliminary Order of Forfeiture is final

as to the Defendant and shall be made part of the sentence and included in the Judgment. This

Order remains preliminary as to third parties until the ancillary proceeding is concluded.

       IT IS SO ORDERED.

Dated: November 10, 2021

                                                       s/Michael J. Newman__
                                                       HONORABLE MICHAEL J. NEWMAN
                                                       UNITED STATES DISTRICT JUDGE




                                                   3
